Case 3:08-cv-00282-GPM-PMF Document 48 Filed 03/08/10 Page 1 of 1 Page ID #186



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS


 PAUL DILLON and TAMMY DILLON,      )
                                    )
                 Plaintiff,         )
                                    )
 vs.                                )                   CIVIL NO. 08-282-GPM
                                    )
 JERRY ZANG, M.D., ILLINOIS-INDIANA )
 EM-I MEDICAL SERVICES, S.C., and )
 UNITED STATES OF AMERICA,          )

                         Defendant.


                             JUDGMENT IN A CIVIL CASE

        This action came before the Court, District Judge G. Patrick Murphy presiding, and the

 parties have advised that the action has been settled in its entirety.

        IT IS ORDERED that this action is DISMISSED with prejudice.                The parties shall

 bear their own costs.

        DATED: March 8, 2010

                                                        NANCY J. ROSENSTENGEL, CLERK


                                                        By: s/ Linda M. McGovern
                                                               Deputy Clerk



 APPROVED: s/G. Patrick Murphy
           G. Patrick Murphy
           United States District Judge
